        Case 9:20-cr-00005-DLC Document 62 Filed 10/21/20 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

UNITED STATES OF AMERICA,                           CR 20–05–M–DLC

                     Plaintiff,

vs.                                                         ORDER

DAVID PAUL FARRAR,

                      Defendant.

      Counsel for Defendant David Paul Farrar indicates that, on October 20,

2020, he submitted objections to the presentence investigation report to the United

States Probation Office. (Doc. 61.) Because the submission complies with the

deadline set by this Court’s August 4, 2020 scheduling order, and counsel does not

indicate that he requires any further continuances, IT IS ORDERED that all

sentencing deadlines remain in place. (See Docs. 54, 58.)

      DATED this 21st day of October, 2020.




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